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                                                                         Hon. Richard A. Jones
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3
                              UNITED STATES DISTRICT COURT
4                            WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
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6
       ABRAHAM LEAVITT,
7
                                                        NO. 2:23−cv−01817−RAJ
8                                    Plaintiff(s),
                                                        ORDER REGARDING
                           v.                           FRCP 26(f) CONFERENCE,
9
                                                        INITIAL DISCLOSURES,
10     CENTRAL CREDIT, LLC et al.,                      AND JOINT STATUS REPORT

11
                                  Defendant(s).
12
                                I. INITIAL SCHEDULING DATES
13
           The Court sets the following initial case scheduling deadlines:
14
           Deadline to Conduct FRCP 26(f) Conference:              March 21, 2024
15
16         Deadline to Exchange Initial Disclosures
           Pursuant to FRCP 26(a)(1)                               March 28, 2024
17         (Initial Disclosures are not to be filed):

18         Deadline to File Combined Joint Status Report
           and Discovery Plan as Required by FRCP 26(f)
19         and Local Civil Rule 26(f):                             April 4, 2024
20
21         The deadlines above may be extended only by the Court. Any request for an
22   extension of these deadlines should be made by email to Victoria Ericksen, Courtroom
23   Deputy, at victoria_ericksen@wawd.uscourts.gov. The parties who have already
24   appeared in this matter are required to meet and confer before contacting the Court to
25   request an extension.
26

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1          If this case involves claims which are exempt from the requirements of FRCP
2    26(a) and 26(f), please notify Victoria Ericksen, Courtroom Deputy, at
3    victoria_ericksen@wawd.uscourts.gov.
4                  II. JUDGE−SPECIFIC PROCEDURAL INFORMATION
5          Counsel and pro se parties are directed to review Judge Jones' chambers

6    procedures at https://www.wawd.uscourts.gov/judges/jones−procedures. Counsel and

7    pro se parties are expected to abide by the requirements set forth therein. Failure to

8    do so may result in the imposition of sanctions.

9          Links to Local Rules, Electronic Filing Procedures for Civil and Criminal Cases,

10   court forms, instruction sheets, and General Orders, can be found on the Court's website

11   at https://www.wawd.uscourts.gov.

12                 III. JOINT STATUS REPORT AND DISCOVERY PLAN

13         All counsel and any pro se parties are directed to confer and provide the Court

14   with a combined Joint Status Report and Discovery Plan (the "Report") by

15   April 4, 2024. This conference shall be by direct and personal communication,

16   whether that be face−to−face meeting or a telephonic conference. The Report will be

17   used in setting a schedule for the prompt completion of the case. It must contain the

18   following information by corresponding paragraph numbers:

19         1. A statement of the nature and complexity of the case.

20         2. A proposed deadline for joining additional parties.

21         3. The parties have the right to consent to assignment of this case to a full time

22   United States Magistrate Judge, pursuant to 28 U.S.C. §636(c) and Local Rule MJR 13,

23   to conduct all proceedings. The Western District of Washington assigns a wide range of

24   cases to Magistrate Judges. The Magistrate Judges of this district thus have significant

25   experience in all types of civil matters filed in our court. The parties should indicate

26   whether they agree that the Honorable Brian A. Tsuchida may conduct all proceedings

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1    including trial and the entry of judgment. When responding to this question, the parties
2    should only respond "yes" or "no." Individual party responses should not be provided. A
3    "yes" response should be indicated only if all parties consent. Otherwise, a "no" response
4    should be provided.
5          4. A discovery plan that states, by corresponding paragraph letters (A, B, etc.),
6    the parties' views and proposals on all items set forth in Fed. R. Civ. P. 26(f)(3), which
7    includes the following topics:
8                (A) the exchange of initial disclosures;
9                (B) subjects, timing, and potential phasing of discovery;
10               (C) electronically stored information;
11               (D) privilege issues;
12               (E) proposed limitations on discovery; and
13               (F) the need for any discovery related orders.
14         5. The parties' views, proposals, and agreements, by corresponding paragraph
15   letters (A, B, etc.) on all items set forth in Local Civil Rule 26(f)(1), which includes
16   the following topics:
17               (A) alternative dispute resolution;
18               (B) The existence of any related cases pending in this or other jurisdictions
                     and a proposal for how to handle them;
19
                 (C) phasing of motions;
20
                 (D) preservation of discoverable information; and
21
                 (E) Model Protocol for Discovery of ESI or alternatives to model protocol.
22
           6. The date by which discovery can be completed (must be at least 120 days
23
     prior to the proposed trial date).
24
           7. Whether the case should be bifurcated by trying the liability issues before
25
     the damages issues, or bifurcated in any other way.
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1           8. The date the case will be ready for trial.
2           9. Whether the trial will be jury or non−jury.
3           10. The number of trial days required.
4           11. The dates on which trial counsel may have complications to be considered in
5    setting a trial date.
6           12. The dates on which each and every non−governmental corporate party filed
7    its corporate disclosure statement pursuant to FRCP 7.1 and LCR 7.1.
8           If the parties are unable to agree on any part of the Report, they may answer in
9    separate paragraphs. No separate reports are to be filed.
10                                     IV. PRIVACY POLICY
11          Pursuant to LCR 5.2(a), parties are to redact the following information from

12   documents and exhibits before they are filed with the Court:

13        • Dates of Birth − redact to the year of birth, unless deceased.

14        • Names of Minor Children − redact to the initials, unless deceased or

15          currently over the age of 18.

16        • Social Security or Taxpayer ID Numbers − redact in their entirety.

17        • Financial Accounting Information − redact to the last four digits.

18        • Passport Numbers and Driver License Numbers − redact in their entirety.

19                             V. PLAINTIFF'S RESPONSIBILITY

20          This Order is issued at the outset of the case, and a copy is sent by the clerk to

21   counsel for plaintiff (or plaintiff, if pro se) and any defendants who have appeared.

22   Plaintiff's counsel (or plaintiff, if pro se) is directed to serve copies of this Order on all

23   parties who appear after this Order is filed. Such service shall be accomplished within

24   ten (10) days after each appearance. Plaintiff's counsel (or plaintiff, if pro se) will be

25   responsible for starting the communications needed to comply with this Order.

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1          VI. EARLY SETTLEMENT CONSIDERATION AND NOTIFICATION
2          If settlement is achieved, counsel shall immediately notify Victoria Ericksen,

3    Courtroom Deputy, at victoria_ericksen@wawd.uscourts.gov.

4          The parties are responsible for complying with the terms of this Order. The Court

5    may impose sanctions on any party who fails to comply fully with this Order.

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7          DATED: March 7, 2024.

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11                                             The Honorable Richard A. Jones
                                               United States District Judge
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